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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                    Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.


ROGER J. STONE, JR.,

       Defendant.

__________________________________/

              DEFENDANT ROGER J. STONE'S MOTION FOR CONTINUANCE OF
                           SENTENCING HEARING

       Roger Stone requests this Court grant the motion for continuance of the sentencing

hearing set on February 6, 2020.

       Mr. Stone's counsel has been working with Mr. Stone to assemble the information that

the Department of Probation requires in order to prepare a Presentence Investigation Report

(“PSR”). Despite the continual and diligent work of Mr. Stone, the process; however, is not yet

complete, particularly financial records and information necessary to prepare Mr. Stone’s

financial disclosure statement, which are extensive and not all immediately available. As a result,

the assigned Probation Officer informed counsel that Probation will not be able to disclose the

initial draft of the PSR on January 9, 2020, in accordance with the schedule set by the Court.

Probation has, therefore, advised counsel to seek a continuance of Mr. Stone’s sentencing, which

is currently set for February 6, 2020.

       In order to ensure that counsel and the subject matter professionals have sufficient time

within which to provide Probation a complete and accurate financial disclosure statement and

that Probation thereafter has adequate time to prepare the PSR, we respectfully request that the
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Court continue sentencing until a date after March 9, 2020. The requested continuance is based

on consultation with Probation and takes into account the anticipated time that Mr. Stone,

counsel, and the subject matter professionals will require to review and complete Mr. Stone’s

financial disclosure, the time necessary for Probation to thereafter complete the PSR, as well as

the upcoming holiday period, and other commitments of the subject matter professionals and

counsel.

       Pursuant to Local Criminal Rule 57.2(b), counsel has consulted with the government on

the rescheduling of the sentencing hearing. The government objects to this request.

                                        CONCLUSION

       The Court should grant the motion for a continuance until a date after March 9, 2020.



                                                Respectfully submitted,
                                                By: /s/_______________

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2019 I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


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                                                           By: /s/ Robert Buschel
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